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June 6, 2022

VIA ECF

The Honorable Martin C. Carlson
United States District Court for the
Middle District of Pennsylvania
Ronald Reagan Federal Bldg. & U.S. Courthouse
228 Walnut Street
Harrisburg, PA 17101



Re:    Gosse v. Transworld Systems, Inc. et al., 3:20-cv-01446

Dear Judge Carlson:

The case management conference occurred in this matter on Friday, June 3.

Defendants understood the Court to indicate during the conference that it had embraced the
schedule proposed in the Case Management Plan, including the initial limitation on discovery for
the first 90 days that was proposed by Defendants. In the Case Management Plan, Defendants
proposed that discovery initially be limited to the acquisition of Plaintiff’s loan. (See Doc. 102, §
4.2). This is because, as the Court recognized in its Report and Recommendation, (Doc. 82),
all claims in this case hinge upon the discrete issue of whether National Collegiate Student Loan
Trust 2007-3 owns Plaintiff’s loan.

Defendants also alerted the Court to the potential of an early motion for summary judgment
following discovery on this discrete issue, and the Court indicated that if Defendants sought a
stay of the remaining discovery, they could make a request at that time.

The case management order, (Doc. 104), did not reference the initial limitation on discovery for
the first 90 days. As a result, Defendants write to request clarification of the Court’s order.
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Respectfully,

s/ Justin G. Weber

Justin G. Weber

cc: All Counsel of Record
